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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

 UNITED STATES OF AMERICA,                      §
                                                §
                        Plaintiff,              §
                                                §
 VS.                                            §      Criminal No. 3:15-CR-044-D(3)
                                                §
 SHANE BARRON,                                  §
                                                §
                        Defendant.              §

                                     MEMORANDUM OPINION
                                         AND ORDER

         The government’s August 7, 2017 motion for reduction of sentence pursuant to Rule 35 is

 granted, and the court modifies its judgment filed January 29, 2016 as follows.

        The judgment is modified at page 2 so that the portion of the sentence that reads:

                The defendant is hereby committed to the custody of the United
                States Bureau of Prisons to be imprisoned for a total term of: thirty-
                seven (37) months as to count 17.

 is modified to read:

                The defendant is hereby committed to the custody of the United
                States Bureau of Prisons to be imprisoned for a total term of: twenty-
                seven (27) months as to count 17.

 In all other respects the original judgment and sentence of the court shall stand as entered.

        The clerk of court shall provide copies of this memorandum opinion and order to the usual

 recipients, and shall also transmit a copy to the Bureau of Prisons.

        SO ORDERED.

        August 28, 2017.
                                               _________________________________
                                               SIDNEY A. FITZWATER
                                               UNITED STATES DISTRICT JUDGE
